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DeMarco‐MItchell, PLLC 
1255 West 15th Street, Suite 805 
Plano, TX 75075 
Telephone:    972‐578‐1400 
Facsimile:    972‐346‐6791 
 
                             IN THE UNITED STATES BANKRUPTCY COURT 
                                    NORTHERN DISTRICT OF TEXAS 
                                          DALLAS DIVISION   
IN RE:                                             § 
                                                   §        
STW Resources Holding Corp.                        § 
26‐1945743                                         §             Case No. 16‐33121‐bjh‐11 
5307 E. Mockingbird Lane                           § 
5th Floor, Mockingbird Station                     § 
Dallas, TX 75206                                   § 
                                                   §             Chapter 11 
                                                   § 
                                                   § 
Debtor                                             § 
 
                                Notice of Change in Matrix of Creditors 
 
         The attached creditor matrix is being filed to change the original matrix for the following reason:      
            
                                       X               Adding Creditors 
 
                                                        Deleting Creditors 
 
                                        _               Creditor Address Changes 
                                         
*IMPORTANT 
A separate Notice of Change in Creditor Matrix is required for each category for those cases where more than one 
of the above categories applies.    Please list on required matrix form, only those creditors affected by the change.   
DO NOT REFILE A COMPLETE NEW MATRIX. 
 
The attorney for the above‐named Debtor hereby verifies that the changes in the attached creditor matrix are true 
and correct to the best of his knowledge. 
 
 
Date:    October 5,  2016                                 Respectfully Submitted, 
   
                                                            /s/ Michael S. Mitchell  
                                                            _____________________________________ 
                                                            Michael S. Mitchell, Texas Bar No. 00788065 
                                                            DeMarco‐Mitchell, PLLC 
                                                            1255 West 15th Street, Suite 805 
                                                            Plano, TX 75075 
                                                            Telephone:    (972) 578‐1400/Facsimile:    (972) 346‐6791 
                                                            E‐mail:    mike@demarcomitchell.com 
                                                            Proposed Counsel For Debtor 
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                               Audrey Lee Maddox 
                                   203 West Wall 
                                     Suite 1202 
                                Midland, TX 79701 
                                           
                                  Carlos Martinez 
                                    1016 Pueblo 
                                 Odessa, TX 79761 
                                           
                                 Eduardo P. Baca 
                                  15229 S. Cuspid 
                                 Odessa, TX 79766 
                                           
                                Erasmo I. Carrasco 
                                    P.O. Box 442 
                                Stanton, TX 79782 
                                           
                                  Lazaro F. Tejada 
                             12065 West Doris Drive 
                                 Odessa, TX 79764 
                                           
                                 Mario G. Palomo 
                                    PO Box 1068 
                               Monahans, TX 79756 
                                           
                       McCreary, Veselka, Bragg & Allen, P.C. 
                                    PO Box 1269 
                           Round Rock, TX 78680‐1269 
                                           
                                 McDerMedia, Inc. 
                        3952 D Clairemont Mesa Blvd. #198 
                               San Diego, CA 92117 
                                           
                         Midland Central Appraisal District 
                                 P.O. Box 908002 
                             Midland, TX 79708‐0002 
                                           
                                   Olen Coursey 
                                    143 S. Hasty 
                                 Odessa, TX 79763 
                                           
                              Paxton S. Beauchamp 
                                5200 N. Midkiff Rd. 
                                Midland, TX 79705 
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                                  Perry G. Fikes 
                                  4107 Irvin Dr. 
                                Midland, TX 79705 
                                          
                                  Steven Swartz 
                            11100 Santa Monica Blvd. 
                                       #400 
                              Los Angeles, CA 90025 
                                          
                          Team Industrial Services, Inc. 
                             C/O 13131 Dairy Ashford 
                                    Suite 600 
                               Sugarland, TX 77478 
                                          
                                 WTG Fuels, Inc. 
                                  P.O. Box 3514 
                                Midland, TX 79706 
                                          
                                       UPS 
                         C/O Synter Resource Group, LLC 
                                  PO Box 63247 
                         North Charleston, SC 29419‐3247 
                                          
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                                           CERTIFICATE OF SERVICE 
 
 
         The undersigned certifies that true and correct copies of the attached Notice of Change 
in Matrix of Creditors were served upon all added creditors and upon all parties listed below in 
accordance with applicable rules of bankruptcy procedure on this 5th day of October, 2016.     
          
          
                                                            Respectfully Submitted, 
                                                            /s/ Michael S. Mitchell   
                                                            _____________________________________ 
                                                            Michael S. Mitchell, Texas Bar No. 00788065 
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                                                            Facsimile:    (972) 346‐6791 
                                                            E‐mail:    mike@demarcomitchell.com 
                                                            Proposed Counsel For Debtor 
 
 
 
                                        DEBTOR AND DEBTOR’S COUNSEL 
         STW Resources Holding Corp.                        Michael S. Mitchell 
         5307 E. Mockingbird Lane                           DeMarco∙Mitchell, PLLC 
         5th Floor, Mockingbird Station                     1255 West 15th Street, Suite 805 
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                                                            mike@demarcomitchell.com 
                                                             
                                             UNITED STATES TRUSTEE 
         Office of the United States Trustee                Meredyth A. Kippes 
         1100 Commerce Street, Room 976                     Office of the United States Trustee 
         Dallas, TX 75242                                   1100 Commerce Street, Room 976 
         ustpregion06.da.ecf@usdoj.gov                      Dallas, TX 75242 
                                                            meredyth.a.kippes@usdoj.gov 
                                                             
                                              SECURED CREDITORS 
         Arch Capital Funding, LLC                          Corporation Service Company 
         160 Pearl Street, Suite 5                          As Representative 
         New York, NY 10005                                 P.O. Box 2576 
                                                            Springfield, IL 62708 
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     Crown Financial, LLC                          Midland Co. and Midland Co. Utilty Dist. 
     C/O Clarke Viron Rogers                       C/O Laura J. Monroe 
     Forshey & Prostok LLP                         Perdue, Brandon, Fielder, Collins & Mott 
     777 Main Street, Suite 1290                   P.O. Box 817 
     Fort Worth, TX 76102                          Lubbock, TX 79408 
     crogers@forsheyprostok.com                    lmonroe@pbfcm.com 
                                                    
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     McCreary, Veselka, Bragg & Allen, P.C. 
     PO Box 1269 
     Round Rock, TX 78680‐1269 
     leon.gordon@mvbalaw.com 
      
                               TWENTY LARGEST UNSECURED CREDITORS 
     GE Ionics, Inc.                               East J4 LP 
     C/O Glenn Reisman, Esq.                       C/O Cotton, Bledsoe, Tighe & Dawson, PC 
     12 Old Hollow Road, Suite B                   PO Box 2776 
     Trumbull, CT 06611                            Midland, TX 79702 
                                                    
     United Drilling, Inc.                         Redwood Funding 
     C/O Shafer, Davis, O'Leary & Stoker           50233 North Parkway 
     PO Drawer 1552                                Calabasas, CA 91302 
     Odessa, TX 79760‐1552                          
     Attn:    James W. Essman                       
                                                    
     Crown Financial, LLC                          Anson Investments   
     P.O. Box 219330                               Master Fund #2 
     Houston, TX 77218                             200 Seaport Blvd. #Z2h 
                                                   Boston, MA 02210 
                                                    
     MKM Master Opportunity Fund                   McNees Wallace & Nurick, LLC 
     28 West 44th Street, 16th Floor               100 Pine Street 
     New York, NY 10024                            Harrisburg, PA 17108 
                                                    
     Black Pearl Energy                            Janet Stinus 
     5307 E. Mockingbird Lane                      C/O Cotton, Bledsoe, Tighe & Dawson, PC 
     5th Floor                                     PO Box 2776 
     Dallas, TX 75201                              Midland, TX 79702 
                                                    
     Dufrane Nuclear Shielding, Inc.               Watson Packer, LLC 
     C/O Darrell W. Corzine                        d/b/a Chief Services 
     4840 E. University Blvd.                      600 N. Big Spring Street 
     Odessa, TX 79762                              Midland, TX 79701 
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     Energy Transfer                               Rhonda J. Parish & Celia A. Kudro 
     C/O Keegan Pieper, Assoc. Gen. Counsel        627 Cherokee Circle 
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     Mail Stop 20.035C                              
     Houston, TX 77002                              
                                                    
     Lynette Dillen                                FirstFire Global Opportunities Fund, LLC 
     C/O Pope, Berger, Williams & Reynolds         C/O Nicolas F. Coscia, Esq. 
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     San Diego, CA 92101                           Cardiff‐by‐the‐Sea, CA 92007 
                                                    
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     Hidden Hills, CA 91302                        Philadelphia, PA 19101‐7346 
                                                    
     Zach Easton                                   W.B. McDermott 
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     Scottsdale, AZ 85258                          Vancouver, BC   
                                                   V7V 1R8 Canada 
                                                    
                     PARTIES FORMALLY APPEARING AND/OR REQUESTING NOTICE 
      Midland County                              Midland County Utility District
      C/O Laura J. Monroe                         C/O Laura J. Monroe 
      Perdue, Brandon, Fielder, Collins &         Perdue, Brandon, Fielder, Collins & Mott, 
      Mott, LLP                                   LLP 
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      Creim Macias Koenig & Frey, LLP             Creim Macias Koenig & Frey, LLP 
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      sfrey@cmkllp.com                            skoenig@cmkllp.com 
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         C/O Christopher J. Moser                         TRE & Associates, LLC 
         Quilling, Selander, Lownds, Winslett &           C/O Harrel L. Davis 
         Moser, P.C.                                      Gordon Davis Johnson & Shane, PC 
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         James A. Skelton                                 Gary Trust 
         JAS Financial Services, LLC                      C/O Joyce W. Lindauer 
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         jim@jaskelton.com                                joyce@joycelindauer.com 
      
                                                           
           INTERNAL REVENUE SERVICE AND OTHER GOVERNMENTAL AGENCIES ENTITLED TO NOTICE 
         Internal Revenue Service                Securities and Exchange Commission 
         Special Procedures‐Insolvency           175 West Jackson Blvd., Suite 900 
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         Philadelphia, PA 19101‐7346             Attn:    Jolene M. Wise 
                                                 wisej@sec.gov 
                                                           
         Office of the United States Attorney    State Comptroller of Public Accounts   
         3rd Floor, 1100 Commerce Street         Revenue Accounting Division‐   
         Dallas, TX 75242‐1699                   Bankruptcy Section   
                                                 P.O. Box 13528   
                                                 Austin, Texas 78711 
                                                           
                                                 Texas Workforce Commission   
         Texas Attorney General   
                                                 TEC Building ‐ Bankruptcy   
         Bankruptcy & Collections Division 
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                                            CREDITORS’ COMMITTEE 
             Watson Packer, LLC                         GE Ionics, Inc. 
             d/b/a Chief Services                       Glenn Reisman, In House Counsel 
             Hyatt Harvey, Engineer                     12 Old Hollow Road, Suite B 
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             Rhonda J. Parish                            
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             Orlando, FL 32801                           
             rjparish@mac.com 
              
          




                                             INDENTURE TRUSTEE 
         N/A 
                                                        
                                                        
                                                        
                                                        
                                                        
                                                        
 
      
      
